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                                           June 9, 2022
VIA ELECTRONIC-FILING
The Honorable Christopher J. Burke
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Wilmington, DE 19801-3556

       Re:     The Nielsen Company (US), LLC v. TVision Insights, Inc.
               C.A. No. 21-1592-CJB

Dear Judge Burke:

        The parties in the above-referenced matter write to inform the Court of the dismissal of
Count II (Infringement of U.S. Patent No. 8,302,120) of Plaintiff’s Complaint. The Notice of
Partial Dismissal was filed June 7, 2022 (D.I. 38).

       This dismissal moots Defendant TVision Insights, Inc.’s (“TVision’s”) Motion To
Dismiss Complaint (D.I. 11) as it relates to the ‘120 Patent. Consequently, it will not be
necessary to address this issue at the hearing scheduled for July 8, 2022. TVision’s motion
remains live as to the ’189 patent, which the parties will be prepared to address on July 8.

       Counsel remain available at the Court’s convenience should Your Honor have any
questions.

                                                     Respectfully,

                                                     /s/ Bindu A. Palapura

                                                     Bindu A. Palapura

BAP:nmt/10167798/14911.00004

cc:    Counsel of Record (via electronic mail)
